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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

IN RE:
                                                §
Brenda Long                                     § CASE NO. 19-20068-rlj-7
                                                §
                                                §
DEBTOR                                          §

                      RESPONSE TO MOTION TO RELIEF FROM STAY OF
                              NATIONSTAR MORTGAGE LLC

   The Petitioner herein would respectfully show unto the Court:

        NOW COMES, Brenda Long, DEBTOR, in the above styled and numbered cause and in

response to the Motion for Relief from Stay of Nationstar Mortgage LLC in regard to the real

property located at 4900 Reding Rd., Amarillo, TX 79108.

        Debtor respectfully shows as follows:

        1. The allegation of Nationstar Mortgage LLC in paragraphs 1 and 2 of its Motion are

admitted.

        2. In response to the allegations of Nationstar Mortgage LLC in paragraphs 3, 5, 6, 7 and

8 we are without sufficient knowledge or information to admit or deny.

        3. The allegations of Nationstar Mortgage LLC in paragraph 4 of its Motion are denied.
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     WHEREFORE, PREMISES CONSIDERED, Debtor respectfully prays that the Court

     deny all relief requested by Movant, that the Court and for such other relief in law and

     equity as the Court deems just.

     Dated: May 8, 2019
                                                      Respectfully submitted,

                                                      Swindell Law Firm
                                                      106 SW 7th Ave.
                                                      Amarillo, TX 79101
                                                      (806) 374-7979
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                                                   By: /s/ Patrick A. Swindell
                                                    Patrick A. Swindell
                                                    State Bar No. 19587450
                                                    Attorney for Debtor


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 8, 2019, a true and correct copy of the
     foregoing Response to Motion for Relief from Stay was served on the following parties in
     interest via US mail or ECF notification:

     CHAPTER 7 TRUSTEE                                     OPPOSING COUNSEL
     Kent Ries                                             Chandra Pryor
     2700 S. Western, Ste. 300                             14841 Dallas Pkwy., Ste. 425
     Amarillo, TX 79106                                    Dallas, TX 75254

     U.S. TRUSTEE                                          DEBTOR
     William T. Neary                                      Brenda Long
     1100 Commerce, Ste. 976                               4900 Reding Rd
     Dallas, TX 75242                                      Amarillo, TX 79106



                                                      /s/ Patrick A. Swindell
                                                      Patrick A. Swindell
